Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 1 of 17




                                           MJ20-209
         Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 2 of 17




                                     ATTACHMENT A
                                  Property to Be Searched
        The property to be searched is located at 2635 S 362nd Place, Federal Way, Washington
98003 (the “SUBJECT RESIDENCE”). The SUBJECT RESIDENCE is a two story single-
family residence with tan siding and white trim windows, and a dark shingle roof. The residence
is located on a 5,832 square foot lot, and has a six foot wooden privacy fence with a side access
gate. The SUBJECT RESIDENCE is as pictured below:




       This warrant authorizes the search of all parts of the property upon which the
SUBJECT RESIDENCE sits and/or is affiliated with, including any structures/fixtures,
whether locked or not, where the items described in Attachment B (list of items to be
seized) could be found.




Attachments A & B - 1
USAO #2020R00363
         Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 3 of 17




                                    ATTACHMENT B
                          Items to be Searched For and Seized
This warrant authorizes the government to search the SUBJECT RESIDENCE for the
following items:

       Evidence and/or fruits of the commission of the following crimes: Distribution of,
and Possession with Intent to Distribute, Controlled Substances, in violation of 21 U.S.C.
§ 841(a)(1); and Conspiracy to Distribute, and to Possess with the Intent to Distribute,
Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1), and Possession of a
Firearm in Furtherance of Drug Trafficking, in violation of Title 18, United States Code,
Section 924(c):

       1.    Controlled Substances: Including but not limited to fentanyl, cocaine,
heroin and methamphetamine.

       2.     Drug Paraphernalia: Items used, or to be used, to store, process, package,
use, and/or distribute controlled substances, such as plastic bags, cutting agents, scales,
measuring equipment, tape, hockey or duffel bags, chemicals or items used to test the
purity and/or quality of controlled substances, and similar items.


        3.    Pill press or encapsulating machine and its associated equipment and molds
for pill production.

       4.     Drug Transaction Records: Documents such as ledgers, receipts, notes, and
similar items relating to the acquisition, transportation, and distribution of controlled
substances.

       5.      Customer and Supplier Information: Items identifying drug customers and
drug suppliers, such as telephone records, personal address books, correspondence,
diaries, calendars, notes with phone numbers and names, “pay/owe sheets” with drug
amounts and prices, maps or directions, and similar items.

        6.     Cash and Financial Records: Currency and financial records, including
bank records, safe deposit box records and keys, credit card records, bills, receipts, tax
returns, vehicle documents, and similar items; and other records that show income and
expenditures, net worth, money transfers, wire transmittals, negotiable instruments, bank
drafts, cashiers checks, and similar items, and money counters.



Attachments A & B - 2
USAO #2020R00363
         Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 4 of 17




      7.    Weapons: Including but not limited to firearms, magazines, ammunition,
and body armor.

       8.     Codes: Evidence of codes used in the distribution of controlled substances,
including but not limited to passwords, code books, cypher or decryption keys, and
similar information.

        9.    Property Records: Deeds, contracts, escrow documents, mortgage
documents, rental documents, and other evidence relating to the purchase, ownership,
rental, income, expenses, or control of the premises, and similar records of other property
owned or rented.

       10.     Indicia of occupancy, residency, and/or ownership of assets including, but
not limited to, utility and telephone bills, canceled envelopes, rental records or payment
receipts, leases, mortgage statements, and other documents.

       11.   Evidence of Storage Unit Rental or Access: rental and payment records,
keys and codes, pamphlets, contracts, contact information, directions, passwords or other
documents relating to storage units.

       12.    Evidence of Personal Property Ownership: Registration information,
ownership documents, or other evidence of ownership of property including, but not
limited to vehicles, vessels, boats, airplanes, jet skis, all terrain vehicles, RVs, and
personal property; evidence of international or domestic travel, hotel/motel stays, and any
other evidence of unexplained wealth,

       13.    All bearer bonds, letters of credit, money drafts, money orders, cashier's
checks, travelers checks, Treasury checks, bank checks, passbooks, bank drafts, money
wrappers, stored value cards, and other forms of financial remuneration evidencing the
obtaining, secreting, transfer, and/or concealment of assets and/or expenditures of money.

       14.    All Western Union and/or Money Gram documents and other documents
evidencing domestic or international wire transfers, money orders, official checks,
cashier’s checks, or other negotiable interests that can be purchased with cash, These
documents are to include applications, payment records, money orders, frequent customer
cards, etc.

       15.    Negotiable instruments, jewelry, precious metals, financial instruments, and
other negotiable instruments.
Attachments A & B - 3
USAO #2020R00363
        Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 5 of 17




       16.    Documents reflecting the source, receipt, transfer, control, ownership, and
disposition of United States and/or foreign currency.
       17.    Correspondence, papers, records, and any other items showing employment
or lack of employment.

      18.    Safes and locked storage containers, and the contents thereof which are
otherwise described in this document.

        19.   Tools: Tools that may be used to open hidden compartments in vehicles,
paint, bonding agents, magnets, or other items that may be used to open/close said
compartments.

       20.   Cellular telephones and other communications devices including
Blackberries may be searched for the following items:
             a.     Assigned number and identifying telephone serial number (ESN,
MIN, IMSI, or IMEI);
             b.     Stored list of recent received, sent, and missed calls;
             c.     Stored contact information;
             d.     Stored photographs of narcotics, currency, firearms or other
weapons, evidence of suspected criminal activity, and/or the user of the phone or
suspected co-conspirators, including any embedded GPS data associated with those
photographs;
             e.     Stored text messages, stored emails and internet browsing history
and information including stored communications over the internet.




Attachments A & B - 4
USAO #2020R00363
                 Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 6 of 17




 1                     AFFIDAVIT OF CHRISTOPHER GARLINGHOUSE
 2 STATE OF WASHINGTON                         )
                                               )   ss
 3
     COUNTY OF KING                            )
 4
 5          I, Christopher Garlinghouse, a Special Agent with the United States Naval
 6 Criminal Investigative Service, having been duly sworn, state as follows:
 7                        INTRODUCTION AND AGENT BACKGROUND
 8          1.       I am a Special Agent for the United States Naval Criminal Investigative
 9 Service (“NCIS”), assigned to the Special Operations Squad, which is attached to the
10 Kitsap County Sheriff’s Office West Sound Narcotics Enforcement Team (“WestNET”),
11 a regional narcotics unit with multiple local and federal entities. I have been a Special
12 Agent with NCIS since February, 2018. Prior to becoming a Special Agent with NCIS, I
13 was a Deputy Sheriff and employed by the Orange County Sheriff’s Office from 2006 to
14 2018.
15          2.       As part of my duties as a Special Agent with NCIS, I investigate controlled
16 substance offenses, in violation of Title 21, United States Code, Sections 841(a)(1)
17 (distribution and possession with intent to distribute controlled substances) and 846
18 (conspiracy to do the same). As set forth below, my training and experience includes the
19 identification and interdiction of controlled substances. During my career as a law
20 enforcement officer, I have been involved in many investigations into controlled
21 substances offenses and drug trafficking organizations, including the execution of search
22 warrants, interviews and interrogations of suspected drug traffickers, arrests of drug
23 traffickers, and the identification and seizure of controlled substances and proceeds of
24 drug trafficking. I am also familiar with the ways that drug traffickers package controlled
25 substances and conceal their illicit activity from detection by law enforcement.
26          3.       I have completed Criminal Investigator Training Program and Special
27 Agent Basic Training Program at the Federal Law Enforcement Training Center in
28 Glynco, Georgia. I have also completed the Florida Department of Law Enforcement
     Affidavit of Special Agent Garlinghouse - 1                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
                 Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 7 of 17




 1 Basic Training, which includes 720 hours of training, and New Jersey State Tactical
 2 Undercover Agent training program. I have received specialized training in the
 3 investigation of controlled substances and on the identification and interdiction of
 4 controlled substances.
 5          4.       I make this affidavit from personal knowledge based on my participation in
 6 this investigation, including witness interviews by myself and/or other law enforcement
 7 agents, communications with others who have personal knowledge of the events and
 8 circumstances described herein, and information gained through my training and
 9 experience. The information outlined below is provided for the limited purpose of
10 obtaining a search warrant and does not contain all details or all facts of which I am
11 aware relating to this investigation.
12          5.       In the following paragraphs, I describe communications between various
13 individuals. Except where specifically indicated with quotation marks, the descriptions
14 are summaries of the conversations and are not meant to reflect specific words or
15 language used.
16                                       PURPOSE OF AFFIDAVIT
17          6.       I make this affidavit in support of an application for a warrant authorizing
18 the search of the following residence, which is further described below and in Attachment
19 A (attached hereto and incorporated by reference as if fully set forth herein), for
20 evidence, fruits and instrumentalities, as further described in Attachments B (attached
21 hereto and incorporated by reference as if fully set forth herein), of the crimes of
22 Distribution of, and Possession with Intent to Distribute, Controlled Substances, in
23 violation of 21 U.S.C. § 841(a)(1); and Conspiracy to Distribute, and to Possess with the
24 Intent to Distribute, Controlled Substances, in violation of 21 U.S.C. §§ 841(a)(1), and
25 Possession of a Firearm in Furtherance of Drug Trafficking, in violation of Title 18,
26 United States Code, Section 924(c), as described herein:
27                   a.     2635 S 362nd Place, Federal Way, Washington 98003
                     (hereinafter, the “SUBJECT RESIDENCE”), described in more detail in
28
     Affidavit of Special Agent Garlinghouse - 2                            UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                             SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
                 Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 8 of 17




 1                   Attachment A to that warrant, which is incorporated herein. 2635 S 362nd
                     Place, Federal Way, Washington 98003 is a two story single-family
 2
                     residence with tan siding and white trim windows, and a dark shingle roof.
 3                   The residence is located on a 5,832 square foot lot, and has a six foot
                     wooden privacy fence with a side access gate. As set forth below,
 4
                     investigators believe that RAOUL VINCENT NORMANDIA, JR. resides
 5                   at the SUBJECT RESIDENCE
 6          7.       For the SUBJECT RESIDENCE, authority to search extends to all parts of
 7 the property, including main structure, garage(s), storage structures, outbuildings, and
 8 curtilage, and all vehicles, containers, compartments, or safes located on the property,
 9 whether locked or not where the items described in Attachment B (list of items to be
10 seized) could be found.
11          8.       Since this Affidavit is intended to show only that there is a sufficient
12 factual basis for a fair determination of probable cause to support the Application, I have
13 not included every fact known to me concerning this investigation. I have set forth only
14 the facts that I believe are essential to establish the necessary foundation for a search
15 warrant for the SUBJECT RESIDENCE.
16          9.       In the following paragraphs, I describe communications between various
17 individuals. Except where specifically indicated with quotation marks, the descriptions
18 are summaries of the conversations and are not meant to reflect the specific words or
19 language used.
20                               STATEMENT OF PROBABLE CAUSE
21          10.      This investigation arises out of an incident on April 18, 2020, in which a
22 sailor with the United States Navy was found unresponsive in his workspace on a Navy
23 ship. The victim was pronounced deceased at the scene by first responders with Naval
24 Base Kitsap Emergency Medical Services. In the pocket of the victim’s uniform in the
25 workspace, investigators with NCIS found two blue pills believed to be counterfeit 30
26 milligram Percocet pills (“Perc 30s”) laced with fentanyl.
27          11.      Based on my training and experience, and information relayed to me by
28 other law enforcement personnel, I know that fentanyl is a Schedule II narcotic and a
     Affidavit of Special Agent Garlinghouse - 3                             UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
                   Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 9 of 17




 1 highly dangerous drug. Fentanyl is a synthetic opioid that is 50 times more toxic than
 2 heroin. In its purest form, fentanyl is a white powder or is found in grains similar in size
 3 to table salt. For most people, two to three milligrams of fentanyl is capable of inducing
 4 respiratory depression, arrest, and possibly death. Two to three milligrams of fentanyl is
 5 comparable in size to five to seven individual grains of table salt. Additionally,
 6 counterfeit Percocet pills have been associated with multiple overdose deaths in Western
 7 Washington.
 8              12.      Further investigation found that the victim had received Perc 30s from
 9 another sailor on the same ship, who had purchased the pills from a dealer in Seattle, later
10 identified as a cooperating defendant (“CD”). 1 Moreover, these pills had been provided
11 to a number of Navy sailors on the same ship, with two other sailors becoming violently
12 ill and one sailor requiring hospitalization and Narcan to treat an opioid overdose. As
13 discussed below, investigators have determined that NORMANDIA supplied Perc 30s to
14 CD, including the pills that investigators believe caused the sailors’ illnesses, overdoses,
15 and death.
16 A.           Investigators Conduct an Initial Investigation Into the Victim’s Death
17              13.      During the pendency of the above mentioned investigation into the
18 circumstances surrounding the death of the victim, Special Agents received a tip from a
19 Navy sailor on April 20, 2020. The tip concerned another sailor, Ivan Alexander
20 Armenta, who had allegedly traveled to Seattle on April 17, 2020, to procure Percocet
21 pills, and had then provided those pills to sailors on the ship, including the victim.
22              14.      Armenta was interviewed regarding his knowledge of, and involvement in,
23 the victim’s death. Prior to questioning, Armenta was informed of his Miranda rights,
24 which he waived and agreed to speak with investigators. Armenta told investigators that
25
26   1
     CD has been charged by Complaint for Possession of Controlled Substances with Intent to
27 Distribute, in violation of 21 U.S.C. § 841(a)(1) and 841(b)(1)(C). CD is cooperating for judicial
   consideration in their sentencing and, according to NCIC, CD has no other criminal history other
28 than the charges CD is currently facing.
         Affidavit of Special Agent Garlinghouse - 4                          UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
         USAO# 2020R00363
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
              Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 10 of 17




 1 he had been in contact with an individual in Seattle, later identified as CD, since early
 2 March, 2020, via the Snapchat messaging application. Armenta stated that he had
 3 purchased 15 Perc 30s from CD’s residence on April 17, 2020, the day before the
 4 victim’s death. Armenta described the pills as small, light blue in color, and imprinted
 5 with an M on one side and the number 30 on the other. Based upon my training and
 6 experience, I know pills with the above description commonly contain fentanyl. Armenta
 7 confirmed that he had distributed the Perc 30s to other sailors on the ship, including the
 8 victim. Ultimately, Armenta consented to investigators accessing his cellular phone to
 9 contact the individual from whom he had purchased the pills.
10 B.       Blue Pills Suspected to Contain Fentanyl Are Recovered From CD
11          15.      With Armenta’s consent, agents established communications with CD via
12 Armenta’s Snapchat account and arranged an undercover operation to purchase 100 Perc
13 30s from CD on the evening of April 20, 2020. At approximately 6:47 p.m. on April 20,
14 agents messaged CD via Armenta’s Snapchat account, posing as Armenta and asking if
15 CD was free and if they could “pick up tonight.” CD replied at 7:00 p.m., less than
16 15 minutes later, to say that he could probably meet later that evening, around 10:00 p.m.
17 Still posing as Armenta via Snapchat, agents placed an order for 100 Perc 30s in
18 exchange for $1,200. They then introduced the undercover agent as the person who
19 would pick up the pills from CD.
20          16.      At approximately 10:52 p.m., the undercover agent used an undercover
21 Snapchat account to contact CD, posing as Armenta’s friend who would pick up the Perc
22 30s. In a Snapchat conversation that followed, CD requested more time to complete the
23 deal, and noted that he was 3 pills short. Shortly before midnight, CD requested that the
24 UC meet him at CD’s apartment to complete the deal. When the UC arrived at the
25 apartment complex at approximately 12:20 a.m., he asked CD to meet him in the parking
26 lot, rather than in CD’s apartment. At that point, CD called off the deal.
27          17.      After CD called off the deal, investigators obtained a telephonic search
28 warrant in Kitsap County Superior Court for CD’s apartment, which they executed at
     Affidavit of Special Agent Garlinghouse - 5                           UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
                  Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 11 of 17




 1 approximately 12:30 a.m. During that search, investigators found and seized a plastic
 2 bag containing approximately 100 blue pills, suspected to be counterfeit Perc 30s
 3 containing fentanyl; 2 100 grams of suspected cocaine; a black semiautomatic handgun;
 4 and over $10,000 in cash. CD was arrested, and agents seized CD’s cellular phone.
 5 C.           Investigators Identify NORMANDIA as the Source of the Blue Pills
 6              18.      Agents have interviewed CD regarding drug trafficking activity, both CD’s
 7 own and that of NORMANDIA. CD provided investigators with information about
 8 NORMANDIA, who supplied CD with the Perc 30s that were provided to the sailors and
 9 those that were found during the search of CD’s apartment. CD has a long-standing
10 acquaintance with NORMANDIA and is familiar with the SUBJECT RESIDENCE,
11 which is listed as NORMANDIA’s residence in Washington State Department of
12 Licensing (“DOL”) records. NORMANDIA also has two cars registered in his name at
13 the SUBJECT RESIDENCE and, according to Washington State public business records,
14 he runs a kenneling and dog breeding business out of the SUBJECT RESIDENCE. CD
15 generally contacts NORMANDIA via Snapchat messaging or by calling or sending text
16 messages to the number (206) 529-7545. Public records show that this phone number is,
17 in fact, associated with NORMANDIA and the SUBJECT RESIDENCE. According to
18 CD, they also contacted NORMANDIA on a second phone number, (253) 632-2006.
19              19.      According to CD, they regularly meet with NORMANDIA at the
20 SUBJECT RESIDENCE, where NORMANDIA has provided CD with cocaine and
21 counterfeit Perc 30s containing fentanyl in exchange for cash. According to CD,
22 NORMANDIA lives alone in the SUBJECT RESIDENCE, and public records databases
23 do not show any additional individuals living at the SUBJECT RESIDENCE. In the past,
24 CD has seen kilos of cocaine, counterfeit blue pills consistent with Perc 30s, and large
25
26
     2
27   Investigators have not been able to field test the substances and pills recovered during the
   search, or open the plastic bag to count the pills, due to safety concerns over the presence of
28 fentanyl.
         Affidavit of Special Agent Garlinghouse - 6                           UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
         USAO# 2020R00363
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
              Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 12 of 17




 1 sums of cash in the SUBJECT RESIDENCE, along with a number of firearms, including
 2 handguns and assault rifles.
 3          20.      In an interview with investigators, CD indicated that CD obtained
 4 100 counterfeit Perc 30s containing suspected fentanyl from NORMANDIA on April 10,
 5 2020, in exchange for $850 in cash. After purchasing the pills, CD told investigators that
 6 CD became concerned about their quality because they were too thin and did not “look
 7 right,” so CD attempted to return the pills to NORMANDIA. According to CD,
 8 NORMANDIA insisted that CD keep the pills and offered to refund the $850. These
 9 communications are consistent with call logs and text messages found on CD’s cellular
10 phone, which include a record showing that CD received an $850 deposit to his Cash App
11 account from user “shadowline kennels” on April 11, 2020. According to Washington
12 State public business records, Shadowline Kennels is an LLC registered to
13 NORMANDIA at the SUBJECT RESIDENCE. Shortly after CD received the $850
14 deposit, CD contacted NORMANDIA on the (253) 632-2006 number via text message to
15 ask about the money. NORMANDIA replied to CD to “just withdraw it,” and “see if you
16 can move those for me because I already gave dude the money.” Based upon my training
17 and experience, the timing of these texts, and the statements of CD, I believe that
18 NORMANDIA was telling CD to distribute the pills to others because NORMANDIA
19 had already paid his own supplier for them.
20          21.      CD further told investigators that he purchased an ounce of cocaine from
21 NORMANDIA at the SUBJECT RESIDENCE on April 18, 2020, and indicated that
22 NORMANDIA generally has four to eight ounces of cocaine at the SUBJECT
23 RESIDENCE at a time.
24          22.      CD also indicated that CD obtained 97 Perc 30s from NORMANDIA on
25 April 20, 2020, which are the pills that investigators later found during their search of
26 CD’s apartment. According to CD, he contacted NORMANDIA shortly after CD agreed
27 to provide Armenta (in reality, agents) with 100 counterfeit Perc 30s. CD stated that CD
28 delayed the timing of the deal to, in part, go to the SUBJECT RESIDENCE to drink
     Affidavit of Special Agent Garlinghouse - 7                          UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
              Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 13 of 17




 1 “lean” (cough syrup) and pick up the Perc 30s. CD told investigators that, when CD
 2 arrived at the SUBJECT RESIDENCE, NORMANDIA told CD to meet him at a
 3 neighbor’s home, where NORMANDIA had taken the pills. CD met with
 4 NORMANDIA at the neighbor’s home and retrieved the pills, which CD planned to sell
 5 to the undercover agent that night. This account is consistent with call logs and text
 6 messages found on CD’s cellular phone, which includes a call from CD to the (206) 529-
 7 7545 number at 7:13 p.m., a few minutes after CD agreed to provide agents with 100
 8 Perc 30s in exchange for $1,200. Seven minutes later, at 7:20 p.m., CD called
 9 NORMANDIA again, followed quickly by a text message to NORMANDIA stating
10 “need that.” Call logs further show that CD and NORMANDIA communicated by phone
11 on multiple occasions throughout the evening.
12                KNOWLEDGE BASED ON TRAINING AND EXPERIENCE
13          23.      Based on my training and experience, and my discussions with other
14 experienced officers and agents involved in drug investigations, I know the following:
15                   a.      Traffickers of controlled substances, and those who assist them,
                     maintain and tend to retain accounts or records of their drug trafficking
16
                     activities, including lists of drug quantities and money owed, telephone
17                   records including contact names and numbers, photographs, and similar
                     records of evidentiary value. These items are generally kept in locations
18
                     where drug traffickers believe their property is secure and will remain
19                   undetected from law enforcement, such as inside their homes, vehicles and
                     storage lockers.
20
21                   b.      Traffickers of controlled substances commonly maintain addresses,
                     vehicles, or telephone numbers which reflect names, addresses, vehicles,
22                   and/or telephone numbers of their suppliers, customers and associates in the
23                   trafficking organization and it is common to find drug traffickers keeping
                     records of said associates in cellular telephones and other electronic
24                   devices. Traffickers almost always maintain cellular telephones for ready
25                   access to their clientele and to maintain their ongoing narcotics business.
26                   c.      Traffickers maintain evidence of their criminal activity at locations
27                   that are convenient to them, including their residences vehicles, and storage
                     lockers. This evidence often includes more than contraband and
28                   paraphernalia and includes financial records, records of property and
     Affidavit of Special Agent Garlinghouse - 8                           UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
               Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 14 of 17




1                     vehicle ownership, records of property rented, records of post office boxes
                      used to ship and receive contraband and currency, records of other storage
2
                      facilities used to hide drugs or currency, and other documentary evidence
3                     relating to commission of, and proceeds from, their crimes.
4                     d.     During the execution of search warrants, it is common to find
5                     papers, letters, billings, documents, and other writings which show
                      ownership, dominion, and control of vehicles, residences, and/or storage
6                     units.
7
                      e.     Persons trafficking and using controlled substances commonly sell
8                     or use more than one type of controlled substance at any one time.
9
                      f.     Traffickers frequently maintain items necessary for weighing,
10                    packaging, and cutting drugs for distribution. This paraphernalia often
11                    includes, but is not limited to, scales, plastic bags, pill presses and
                      cutting/diluting agents and items to mask the odor of drugs.
12
                      g.     Traffickers often maintain weapons, including guns and ammunition,
13
                      in secure locations such as their residences and storage lockers, in order to
14                    protect their drugs and drug proceeds.
15                    h.      Traffickers often have false identification documents and
16                    identification documents in the names of others.
17                    i.      Drug trafficking is a cash business, and in order to escape notice
18                    from authorities for using unexplained income, or hide excessive cash from
                      illegal activities, traffickers either keep large quantities of cash at home or
19                    other secure locations such as a vehicles and storage locker, or convert the
20                    cash into other valuable assets, such as jewelry, precious metals, monetary
                      instruments, or other negotiable forms of wealth. Records of such
21                    conversions are often stored where a trafficker lives.
22
                      j.     A pill press or encapsulating machine, and its associated equipment,
23                    are used to convert powder drugs to pill form.
24
             24.      Drug dealers use cellular telephones as a tool or instrumentality in
25
     committing their criminal activity. They use them to maintain contact with their
26
     suppliers, distributors, and customers. They prefer cellular telephones because, first, they
27
     can be purchased without the location and personal information that land lines require.
28
      Affidavit of Special Agent Garlinghouse - 9                             UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
      USAO# 2020R00363
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
              Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 15 of 17




1 Second, they can be easily carried to permit the user maximum flexibility in meeting
2 associates, avoiding police surveillance, and traveling to obtain or distribute drugs. Third,
3 they can be passed between members of a drug conspiracy to allow substitution when one
4 member leaves the area temporarily. I also know that it is common for drug traffickers to
5 retain in their possession phones that they previously used, but have discontinued actively
6 using, for their drug trafficking business. Based on my training and experience, the data
7 maintained in a cellular telephone used by a drug dealer is evidence of a crime or crimes.
8 This includes the following:
9                    a.     The assigned number to the cellular telephone (known as the mobile
                     directory number or MDN), and the identifying telephone serial number
10
                     (Electronic Serial Number, or ESN), (Mobile Identification Number, or
11                   MIN), (International Mobile Subscriber Identity, or IMSI), or (International
                     Mobile Equipment Identity, or IMEI) are important evidence because they
12
                     reveal the service provider, allow us to obtain subscriber information, and
13                   uniquely identify the telephone. This information can be used to obtain toll
                     records, to identify contacts by this telephone with other cellular telephones
14
                     used by co-conspirators, to identify other telephones used by the same
15                   subscriber or purchased as part of a package, and to confirm if the
                     telephone was contacted by a cooperating source or was intercepted on a
16
                     wiretap here or in another district.
17
                     b.     The stored list of recent received calls and sent calls is important
18                   evidence. It identifies telephones recently in contact with the telephone
19                   user. This is valuable information in a drug investigation because it will
                     identify telephones used by other members of the organization, such as
20                   suppliers, distributors, and customers, and it confirms the date and time of
21                   contacts. If the user is under surveillance, it identifies what number he
                     called during or around the time of a drug transaction or surveilled meeting.
22                   Even if a contact involves a telephone user not part of the conspiracy, the
23                   information is helpful (and thus is evidence) because it leads to friends and
                     associates of the user who can identify the user, help locate the user, and
24                   provide information about the user. Identifying a defendant’s law-abiding
25                   friends is often just as useful as identifying his drug-trafficking associates.
26                   c.   Stored text messages, to include alternative communication apps (ex.
27                   WhatsApp, Signal, Wickr, etc) are important evidence, similar to stored
                     numbers. Agents can identify both drug associates, and friends of the user
28
     Affidavit of Special Agent Garlinghouse - 10                            UNITED STATES ATTORNEY
                                                                            700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                              SEATTLE, WASHINGTON 98101
                                                                                    (206) 553-7970
              Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 16 of 17




 1                   who likely have helpful information about the user, his location, and his
                     activities.
 2
 3                   d.      Photographs on a cellular telephone are evidence because they help
                     identify the user, either through his or her own picture, or through pictures
 4                   of friends, family, and associates that can identify the user. Pictures also
 5                   identify associates likely to be members of the drug trafficking
                     organization. Some drug dealers photograph groups of associates,
 6                   sometimes posing with weapons and showing identifiable gang signs.
 7
                     e.     Stored address records are important evidence because they show the
 8                   user’s close associates and family members, and they contain names and
 9                   nicknames connected to phone numbers that can be used to identify
                     suspects.
10
11                                       REQUEST FOR SEALING

12          25.      It is respectfully requested that this Court issue an order sealing, until

13 further order of the Court, all papers submitted in support of the Application for a Search
14 Warrant, including the applications, affidavit and search warrant. I believe that sealing
15 these documents is necessary because the items and information to be seized are relevant
16 to an ongoing investigation and disclosure of the search warrant, this affidavit, and/or
17 these applications and the attachments thereto will jeopardize the progress of the
18 investigation. Premature disclosure of the contents of this affidavit and related
19 documents may have a significant and negative impact on the continuing investigation
20 and may severely jeopardize its effectiveness.
21                                                  CONCLUSION

22          26.      Based on the foregoing, I believe there is probable cause that evidence,

23 fruits, and instrumentalities of the crimes of Distribution of, and Possession with Intent to
24 Distribute, Controlled Substances, in violation of 21 U.S.C. § 841(a)(1); and Conspiracy
25 to Distribute, and to Possess with the Intent to Distribute, Controlled Substances, in
26 violation of 21 U.S.C. §§ 841(a)(1), and Possession of a Firearm in Furtherance of Drug
27 Trafficking, in violation of Title 18, United States Code, Section 924(c), are located at the
28 SUBJECT RESIDENCE, as more fully described in Attachment A. I therefore request
     Affidavit of Special Agent Garlinghouse - 11                             UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     USAO# 2020R00363
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
Case 2:20-mj-00209-BAT Document 1 Filed 04/24/20 Page 17 of 17
